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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Todd Gehman Howard,                                 No. CV-23-08034-PCT-SMB (JZB)
10                  Petitioner,                          ORDER
11   v.
12   United States of America,
13                  Respondent.
14
15          Non-party Elizabeth J. Howard has filed two pleadings with the Court. (Civil
16   Distress Warrant at Doc. 7 and Notice of Special, Private, Priority Filing of Memorandum

17   of Record in the Matter of property “Todd Gehman Howard” at Doc. 8) Elizabeth Howard
18   is not a party to the case and has no right to seek relief in this case. Therefore,

19          IT IS ORDERED striking the two pleadings at Doc. 7 and Doc. 8.

20          Dated this 1st day of March, 2023.
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